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 1   MOEEL LAH FAKHOURY LLP
     Hanni M. Fakhoury (State Bar No. 252629)
 2   2006 Kala Bagai Way, Suite 16
     Berkeley, CA 94704
 3   Telephone: (510) 500-9994
     Email:      hanni@mlf-llp.com
 4

 5   Attorneys for Michael Rothenberg
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 7                                  IN THE UNITED STATES DISTRICT COURT

 8                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9                                              OAKLAND DIVISION

10

11     UNITED STATES OF AMERICA,                            Case No.: 4:20-CR-00266-JST

12                     Plaintiff,                           STIPULATION AND [PROPOSED]
                                                            PROTECTIVE ORDER
13             v.

14     MICHAEL ROTHENBERG,

15                     Defendant.

16

17          On July 25, 2023, the Court issued a subpoena duces tecum pursuant to Federal Rule of

18   Criminal Procedure 17(c), directing Rothenberg Ventures (“RV”) to disclose records in connection

19   with defendant Michael Rothenberg’s sentencing hearing. Dkt. 393. Upon receipt of the subpoena,

20   RV determined the subpoena calls for the production of some personal financial information of

21   investors in funds managed by RV (“Protected Information”). In order to ensure the protected

22   information is not subject to unauthorized disclosure or misuse, the parties agree as follows:

23          In responding to the Subpoena, RV will identify responsive materials with Protected

24   Information by marking such materials “CONFIDENTIAL—SUBJECT TO PROTECTIVE

25   ORDER” or by providing written notice identifying responsive materials as Protected Information.

26   RV shall exercise reasonable care in determining which responsive materials should be designated as

27   Protected Information in order to avoid the over-designation of responsive materials as Protected

28   Information.

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 1          IT IS HEREBY ORDERED that defense counsel, their investigators, assistants, employees,
 2   and independent contractors (collectively, “the Defense Team”) may review with the defendant all
 3   responsive material produced by RV.
 4          The Defense Team may show witnesses Protected Information in the course of preparing for
 5   any proceedings in this case, but only if (i) the witness, by reason of their participation in the
 6   underlying events or conduct, would have seen or had reason to know such information, or (ii) it is
 7   otherwise relevant to the defense of the case that the Defense Team discuss with or show the witness
 8   Protected Information and in such case the Defense Team shall inform the witness that the
 9   information is confidential and subject to this Order. Witnesses may only view Protected Information
10   in the presence of the Defense Team. No witness or potential witness may retain copies of discovery
11   material that contains Protected Information after his or her review of those materials with the
12   Defense Team is complete.
13          Defense counsel may also provide Protected Information to any experts retained to assist with
14   the preparation of the defense. The Defendant, all members of the Defense Team, and any experts
15   who receive Protected Information under this Order shall be provided a copy of this Order along with
16   those materials and shall sign and date the order reflecting their agreement to be bound by it.
17          The Defense Team shall maintain Protected Information safely and securely, and shall exercise
18   reasonable care in ensuring the confidentiality of those materials by not divulging the contents or
19   permitting anyone to see Protected Information except as set forth in this Protective Order.
20          The materials provided pursuant to this protective order may only be used for the specific
21   purpose of preparing or presenting a defense in this matter unless specifically authorized by the
22   Court.
23          This Order shall also apply to any copies made of any materials covered by this Order, as well
24   as to Protected Information extracted from any materials covered by this Order.
25          IT IS FURTHER ORDERED that if a party files a pleading that contains or attaches
26   Protected Information subject to this Order, the Protected Information must be filed under seal
27   (accompanied by a request to file under seal) and redacted from the public filing, unless otherwise
28   ordered by the Court.

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 1          IT IS FURTHER ORDERED that after any judgment or disposition has become final and
 2   there are no pending proceedings, challenges, appeals, or habeas motions in the case, counsel for
 3   Defendant shall either destroy responsive materials containing Protected Information (including any
 4   copies) within 30 days if the Defendant consents to such destruction, or retain the Protected
 5   Information and ensure that the Protected Information will continue being kept under the conditions
 6   specified in this Order.
 7          This stipulation is without prejudice to either party applying to the Court to modify the terms of
 8   any protective order. This Court shall retain jurisdiction to modify this Order upon motion of either
 9   party even after the conclusion of district court proceedings in this case.
10

11

12                                                           IT IS SO STIPULATED.

13
      Dated:      August 28, 2024                            MOEEL LAH FAKHOURY LLP
14
                                                                      /S
15
                                                             HANNI M. FAKHOURY
16                                                           Attorneys for Michael Rothenberg

17
      Dated:      August 28, 2024                            SHARTSIS FRIESE LLP
18
                                                                      /S
19                                                           JAHAN RAISSI
                                                             Attorneys for Rothenberg Ventures
20

21
     IT IS SO ORDERED.
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23
     DATED:_________________                              ____________________________________
24                                                        HONORABLE JON S. TIGAR
                                                          United States District Judge
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